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      In the United States Court of Federal Claims


*     *       *       *    *      *

HILLIAN BROS. & SONS, INC.,       *

              Plaintiff,          *     No. 07-326C

              v.                  *     Filed: April 18, 2008

UNITED STATES OF AMERICA, *

              Defendant.          *

*     *       *       *    *      *

                                        ORDER

       Defendant’s motion for leave to file contract documents by CD-ROM is GRANTED.
The additional paper copy is waived.



                                        s/Robert H. Hodges, Jr.
                                        Robert H. Hodges, Jr.
                                        Judge
